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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 JOON BANG, RAZVAN VICTOR                         No. 2:15-cv-6945 (MCA)(LDW)
 BENGULESCU, GERALD BEZEMS,
 SCOTT CROCKETT, RIFAT
 GORENER, CHRISTOPHER LESIEUR,                    CLASS ACTION
 LAWRENCE MARCUS, and MIKHAIL
 SULEYMANOV, individually and on
 behalf of others similarly situated,

             Plaintiffs,

       vs.

 BMW OF NORTH AMERICA, LLC,
 BAVARIAN MOTOR WORKS, and
 DOES 1 through 10, inclusive,

             Defendants.

   SUPPLEMENTAL DECLARATION OF MATTHEW D. SCHELKOPF IN
        SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
         FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       I, Matthew D. Schelkopf, declare as follows:

       1.    I am a member of the law firm of Sauder Schelkopf LLC, and

 proposed Settlement Class Counsel for Plaintiffs in the above-captioned action. I

 am admitted to practice before the Supreme Courts of Pennsylvania and New

 Jersey. I submit this Supplemental Declaration in Support of Plaintiffs’ Motion for

 Final Approval of the Class Action Settlement.




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       2.     Attached hereto as Exhibit 1 is a true and correct copy of a letter sent

 by Lemberg Law to a putative Settlement Class Member. My firm received this

 letter on June 11, 2018.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of the letter

 received from John Cook that was originally sent to the Settlement Administrator

 and then forwarded to my firm.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of the letter

 signed by John Cook whereby Mr. Cook agreed that he misunderstood the terms of

 the Settlement and, after conferring with me about the Settlement, agreed to

 withdraw his objection.



       I declare under penalty of perjury that the foregoing is true and correct.



       Dated: September 7, 2018                Respectfully submitted,

                                          By: /s/ Matthew D. Schelkopf
                                               Matthew D. Schelkopf
                                               Joseph B. Kenney
                                               SAUDER SCHELKOPF LLC
                                               555 Lancaster Avenue
                                               Berwyn, PA 19312
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                           CERTIFICATE OF SERVICE

       I, Matthew D. Schelkopf, hereby certify that on September 7, 2018, the

 foregoing declaration was filed via the Court’s ECF filing system, thereby

 electronically serving it on all counsel of record.



                                                       /s/ Matthew D. Schelkopf
                                                       Matthew D. Schelkopf




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